Case: 4:23-cv-01285-JSD Doc. #: 1 Filed: 10/11/23 Page: 1 of 6 PagelD #: 1

UNITED STATES DISTRICT COURT FOR
THE EASTERN DISTRICT OF MISSOURI

DIVISION

Brennen Hurt

Complaint for a Civil Case

(Write the full name of each plaintiff
who is filing this complaint. If the
names of all the plaintiffs cannot fit in
the space above, please write “see
attached” in the space and attach an
additional page with the full list of
names.)

Case No.
(to be assigned by Clerk of
District Court)

Plaintiff requests trial by jury:

Yes Poa No

v.
Exeter Finance LLC

(Write the full name of each defendant.
The caption must include the names of
all of the parties. Fed. R. Civ. P. 10(a).
Merely listing one party and writing “et
al.” is insufficient. Attach additional
sheets if necessary.)

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CIVIL COMPLAINT

NOTICE:

Federal Rule of Civil Procedure 5.2 addresses the privacy and security concerns resulting from
public access to electronic court files. Under this rule, papers filed with the court should not
contain: an individual’s full social security number or full birth date, the full name of a person
known to be a minor, or a complete financial account number. A filing may include only: the last
four digits of a social security number, the year of an individual's birth, a minor’s initials, and the
last four digits of a financial account number.

Except as noted in this form, plaintiff need not send exhibits, affidavits, grievance or witness
statements, or any other materials to the Clerk’s Office with this complaint.

In order for your complaint to be filed, it must be accompanied by the filing fee or an
application to proceed without prepaying fees or costs.

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I. The Parties to This Complaint

A. The Plaintiff(s)

Provide the information below for each plaintiff named in the complaint. Attach
additional pages if needed.

Brennen Hurt

Name

Street Address 1830 charleston Estates dr
City and County Florissant

State and Zip Code MiSSouri 63031

Telephone Number 314 3960942

E-mail Address Brennenhurt@gmail.com

B. The Defendant(s)

Provide the information below for each defendant named in the complaint, whether the
defendant is an individual, a government agency, an organization, or a corporation. For
an individual defendant, include the person’s job or title (if known). Attach additional

pages if needed.

Defendant No. |

Exeter Finance LLC

Name

Job or Title

Street Address 2101 W John Carpenter FWY

City and County Irving se
State and Zip Code Texas 75063 _ a
Telephone Number cele

E-mail Address : an —— |

(If more than one defendant is named in the complaint, attach an additional
page providing the same information for each additional defendant. If you are
suing for violation of your civil rights, you must state whether you are suing
each defendant in an official capacity, individual capacity, or both.)

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Il. Basis for Jurisdiction

Federal courts are courts of limited jurisdiction (limited power). Generally, only three
types of cases can be heard in federal court. Provide the information for this case.

(Include all information that applies to your case)

A. Federal question

List the specific federal statutes, federal treaties, and/or provisions of the United States
Constitution that are at issue in this case.

Breach of Contract

Breach of Fiduciary Duties
Security Fraud

Unjust Enrichment

B. Suit against the Federal Government, a federal official, or federal agency

List the federal officials or federal agencies involved, if any.

Cc. Diversity of Citizenship

These are cases in which a citizen of one State sues a citizen of another State or nation,
and the amount at stake is more than $75,000. In a diversity of citizenship case, no
defendant may be a citizen of the same State as any plaintiff.

i The Plaintiff(s)

The plaintiff, (name) Brennen Hurt _ , is a citizen of the

State of (name) Missouri

(If more than one plaintiff is named in the complaint, attach an additional
page providing the same information for each additional plaintiff.)
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2. The Defendant(s)

If the defendant is an individual

The defendant, (name) , isa citizen
of the State of (name) Or is a citizen
of (foreign nation)

If the defendant is a corporation

The defendant, (name) Exerter Finance LLC

is incorporated under the laws of the State of (name)

Texas , and has its principal place of

business in the State of (name) Texas Or

is incorporated under the laws of the State of (foreign nation)

, and has its principal place

of business in (name)

(If more than one defendant is named in the complaint, attach an
additional page providing the same information for each additional
defendant.)

a; The Amount in Controversy

The amount in controversy----the amount the plaintiff(s) claims the defendant(s)
owes or the amount at stake----is more than $75,000, not counting interest and
costs of court, because (explain):

Amount in controversy is $78,000 for Breach of
contract, Failure to respond, Deprivation, Defamation
of Character, Payments returned to owner, Profits
made of vehicle being sold, and security Fraud.

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III. Statement of Claim

Type, or neatly print, a short and plain statement of the FACTS that support your claim(s). For
every defendant you have named in this complaint, you must state what he or she personally did
to harm you. If more than one claim is asserted, number each claim and write a short and plain
statement of each claim in a separate paragraph. Do not make legal arguments, or cite court
cases or statutes. You may attach additional pages if necessary.

Your statement of claim must include all of the following information:

What happened to you?

When did it happen?

Where did it happen?

What injuries did you suffer?

What did each defendant personally do, or fail to do, to harm you?

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1. On March 8th 2021 Plaintiff assigned a security or
Installment loan agreement to Defendant as an investor to
secure both parties in a consumer credit transaction.

2. Defendant has since sent Plaintiff coupons every month for
payment. Plaintiff paid the monthly coupons until plaintiff had
the knowledge that he was the beneficial owner and investor.

3. Plaintiff sent defendant multiple notices on March 4th
2023,March 18th, and April 27th to apply the principals balance
to the principals account for set off. Plaintiff expressed his
rights and tendered payment in full so defendant could perform
fiduciary duties owed to the plaintiff.

4. Defendant not only ingnore all notices but defendant also
seized a security in the amount of $11,153.49 which was a bill
of exchange which is accepted according to Federal reserve

section 16.

5.Defendant Breached its fiduciary duties by not acting in the
interest of the plaintiff. Defendant acted contrary to the
principals intertest. Defendant refused to preform
responsibilities owed to the plaintiff who owns the securites.

claim continues on page 7.

IV. Relief

State briefly and precisely what damages or other relief you want from the Court. Do
not make legal arguments.
Plaintiff just wants Proceeds paid returned and special

performance so defendant can set off the debt and change
the information on plaintiff's consumer report.
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Do you claim the wrongs alleged in your complaint are continuing to occur now?

Yes No []

Do you claim actual damages for the acts alleged in your complaint?

Yes No []

Do you claim punitive monetary damages?

Yes No []

If you indicated that you claim actual damages or punitive monetary damages, state the
amounts claimed and the reasons you claim you are entitled to recover these damages.

Breach of contract $10,000 Non-acceptance of negotaible
instrument $11,000 failure to repond to noticies $5,000
Deprivation $7,000 Profits made from selling vehicle
$10,000 Montly payments returned $5,000 Dafamtion of
character $10,000 security fraud/extrotion $20,000

Y: Certification and Closing

Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my
knowledge, information, and belief that this complaint: (1) is not being presented for an
improper purpose, such as to harass, cause unnecessary delay, or needlessly increase the
cost of litigation; (2) is supported by existing law or by a nonfrivolous argument for
extending, modifying, or reversing existing law; (3) the factual contentions have
evidentiary support or, if specifically so identified, will likely have evidentiary support
after a reasonable opportunity for further investigation or discovery; and (4) the
complaint otherwise complies with the requirements of Rule 11.

I agree to provide the Clerk’s Office with any changes to my address where case-related
papers may be served. I understand that my failure to keep a current address on file with

the Clerk’s Office may result in the dismissal of my case.

I declare under penalty of perjury that the foregoing is true and correct.

Signed this__10 __ day of October 330) 23).

Signature of Plaintiff(s)

